             Case 1:20-cv-03762-CRC Document 10 Filed 06/21/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
 CITIZENS UNITED,                                     )
                                                      )
                                           Plaintiff, )
                                                      )
 v.                                                   )      Case No. 20-cv-3762 (CRC)
                                                      )
 U.S. DEPARTMENT STATE,                               )
                                                      )
                                          Defendant. )
                                                      )

                                     JOINT STATUS REPORT

        In accordance with the Court’s May 24, 2021 Minute Order, the parties respectfully

submit the following Joint Status Report:

        1.       This action involves a Freedom of Information Act (“FOIA”) request submitted

by Plaintiff Citizens United to Defendant U.S. Department of State (“State” or “the

Department”). As outlined in the parties’ prior status report of May 17, 2021, State is in the

process of conducting its search for agency records that would potentially be responsive to

Plaintiff’s FOIA request. State has conducted searches of its unclassified system, although it is

still in the process of conducting searches of its classified system due to the ongoing impact of

COVID-19 mitigation measures on staffing.

        2.       Since the last joint status report, State made a second release to Plaintiff on June

3, 2021. The Department informed Plaintiff that it had processed more than 300 pages of

potentially responsive material and had identified one responsive record, which it released in

part.

        3.       The Department anticipates making its next release of responsive, non-exempt

material, to the extent any such material is identified, on or before July 6, 2021.



                                                   1
             Case 1:20-cv-03762-CRC Document 10 Filed 06/21/21 Page 2 of 2




        4.       The parties propose to submit a further Joint Status Report on or before July 21,

2021.



Dated: June 21, 2021                           Respectfully submitted,


  /s/ Jeremiah L. Morgan                       BRIAN M. BOYNTON
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